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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA,                      :              Crim. No. 11-352-03 (FSH)

               v.                              :              ORDER

JAISON MARTINEZ                                :

                       Defendant.              :


       This matter having come before the Court on the Report and Recommendation of the United

States Magistrate Judge filed in this matter, which was submitted as a result of this Court having

referred this cause to the Magistrate Judge for the purpose of conducting a plea proceeding under

Fed. R. Crim. P. 11; and the defendant having consented to the Magistrate Judge conducting the

guilty plea proceeding; and the Court having reviewed the Report and Recommendation, as well as

the transcript of the proceedings on January 18, 2012, and there being no objection to the Report and

Recommendation timely filed pursuant to 28 U.S.C. 636(b); and the Court finding the Report and

Recommendation is neither clearly erroneous nor contrary to law; and the Court hereby finding that

the Report and Recommendation should be approved and adopted and the defendant’s guilty plea

accepted,

       IT IS ON THIS 8th day of February, 2012,

       ORDERED that the Report and Recommendation of the United States Magistrate Judge is

approved and adopted; and

       IT IS FURTHER ORDERED that the defendant’s guilty plea is accepted and a judgment

of guilt to Count One of the Indictment shall be entered.


                                                             s/ Faith S. Hochberg
                                                      UNITED STATES DISTRICT JUDGE
